     Case 2:11-cr-00166-LRH-CWH          Document 96       Filed 05/21/15      Page 1 of 1




                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF NEVADA

                                            ***
                                             )          CASE NO. 2:11-CR-166-LRH-CWH-2
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
v.                                           )          MINUTE ORDER
                                             )
TONYA RUSHING,                               )          DATE: May 20, 2015
                                             )
                     Defendant.              )
                                             )



PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING             REPORTER:       NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                        NONE APPEARING
COUNSEL FOR DEFENDANT(S):                      NONE APPEARING
MINUTE ORDER IN CHAMBERS:

       Before the court is United States of America’s Motion to Attach the Order of Forfeiture
as to Defendant Tonya Rushing (ECF No. 92) to the Amended Judgment in a Criminal Case
(ECF No. 94), good cause appearing,

      IT IS ORDERED that the aforementioned motion is hereby granted. The clerk shall
amend the amended judgment to attach the Order of Forfeiture (ECF No. 92) accordingly.

       IT IS SO ORDERED.
                                                  LANCE S. WILSON, CLERK

                                                  By:      /s/ D. Negrete
                                                                Deputy Clerk
